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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-540 (PLF)
v. : VIOLATIONS:
: =©18 U.S.C. § 231(a)(3)
TIMOTHY ALLEN HART, : (Civil Disorder)
: 18U.S.C. §§ 1512(c)(2) and 2
Defendant. : (Obstruction of an Official Proceeding)
: 18 U.S.C. § 1752(a)(1)

: (Entering and Remaining in a Restricted
: Building or Grounds)
:  =©18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder, and the civil disorder which in any way and
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degree obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, TIMOTHY
ALLEN HART, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds,
where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section !1752(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily
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visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
violation of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.
(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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“MgThaw h, Bowes
Attorney of the United States in
and for the District of Columbia.
